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                                  UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA


   In re:                                           §    Case No. 15-01355-MM7
                                                    §
   U.S. ENTERTAINMENT, LLC                          §
                                                    §
                                                    §
                       Debtor(s)                    §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           Leonard J. Ackerman, chapter 7 trustee, submits this Final Account, Certification that
   the Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $6,985,143.00            Assets Exempt:      NA
 (without deducting any secured claims)



 Total Distributions to                                 Claims Discharged
 Claimants:                        $0.00                Without Payment:    NA

 Total Expenses of
 Administration:                   $38,061.70


         3)      Total gross receipts of $38,061.70 (see Exhibit 1), minus funds paid to the
 debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $38,061.70 from the
 liquidation of the property of the estate, which was distributed as follows:




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                                     CLAIMS              CLAIMS          CLAIMS              CLAIMS
                                   SCHEDULED            ASSERTED        ALLOWED               PAID
   Secured Claims
   (from Exhibit 3)                 $4,855,793.00               $0.00            $0.00             $0.00
   Priority Claims:
       Chapter 7 Admin.
       Fees and Charges                         NA        $127,064.18     $127,064.18        $38,061.70
        (from Exhibit 4)
       Prior Chapter Admin.
       Fees and Charges                         NA              $0.00            $0.00             $0.00
       (from Exhibit 5)
       Priority Unsecured
       Claims                         $111,182.24         $111,983.36            $0.00             $0.00
       (From Exhibit 6)
   General Unsecured
   Claims (from Exhibit 7)            $234,013.84       $1,437,082.19   $1,437,082.19              $0.00

     Total Disbursements            $5,200,989.08       $1,676,129.73   $1,564,146.37        $38,061.70

         4). This case was originally filed under chapter 7 on 03/02/2015. The case was pending
   for 22 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 01/06/2017                            By: /s/ Leonard J. Ackerman
                                                       /Le Trustee
                                                       ona
                                                       rd
                                                       J.
                                                       Ack
                                                       erm
   STATEMENT: This Uniform Form is associated with an open
                                                       an bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                 FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                                      UNIFORM                          AMOUNT
                                                                         TRAN. CODE                       RECEIVED
 Food & Alcohol                                                            1129-000                         $1,000.00
 Liquor License                                                            1129-000                        $35,000.00
 Vendor Refund                                                             1229-000                         $2,061.70
 TOTAL GROSS RECEIPTS                                                                                      $38,061.70

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
  NONE


  EXHIBIT 3 – SECURED CLAIMS

  CLAIM           CLAIMANT          UNIFORM                CLAIMS            CLAIMS   CLAIMS                CLAIMS
 NUMBER                            TRAN. CODE           SCHEDULED          ASSERTED ALLOWED                   PAID
               Sunset Leading         4110-000           $4,855,793.00             $0.00          $0.00            $0.00
               Mgt. LSG Loan
               Ct.
 TOTAL SECURED CLAIMS                                    $4,855,793.00             $0.00          $0.00            $0.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

        PAYEE               UNIFORM                   CLAIMS   CLAIMS                   CLAIMS              CLAIMS
                           TRAN. CODE              SCHEDULED ASSERTED                 ALLOWED                 PAID
 Leonard J. Ackerman,         2100-000                         NA      $4,556.17           $4,556.17          $858.40
 Trustee
 Leonard J. Ackerman,         2200-000                         NA        $140.94            $140.94            $26.55
 Trustee
 Sunset Lending               2410-000                         NA     $42,980.60        $42,980.60          $8,097.64
 Management, LLC
 Integrity Bank               2600-000                         NA         $83.99             $83.99            $83.99
 Franchise Tax Board          2820-000                         NA        $800.00            $800.00           $800.00
 Kirby & McGuinn,             3210-000                         NA     $54,609.00        $54,609.00         $10,288.45
 A.P.C. , Attorney for
 Trustee
 Kirby & McGuinn,             3220-000                         NA      $4,119.07           $4,119.07          $776.04
 A.P.C. , Attorney for
 Trustee
 R. Dean Johnson ,            3410-000                         NA      $2,932.00           $2,932.00          $552.40
 Accountant for
 Trustee
 R. Dean Johnson ,            3420-000                         NA        $325.50            $325.50            $61.32
 Accountant for
 Trustee

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 AUCTIONEER'S                 3610-000                  NA         $100.00           $100.00           $100.00
 COMMISSION ON
 AUCTION OF
 LIQUOR AND
 LIQUOR LICENSE,
 SEE ECF
 DOCUMENTS #31
 AND 123. ,
 Auctioneer for Trustee
 AUCTION OF                   3620-000                  NA    $16,416.91           $16,416.91       $16,416.91
 LIQUOR AND
 LIQUOR LICENSE,
 SEE ECF
 DOCUMENTS #31
 AND 123. PLEASE
 ALSO SEE ECF
 DOCUMENT #84
 AUTHORIZING
 PAYMENT TO EDD
 AND TAXING
 AUTHORITIES TO
 COMPLETE SALE.,
 Auctioneer for Trustee
 TOTAL CHAPTER 7 ADMIN. FEES AND                        NA   $127,064.18        $127,064.18         $38,061.70
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
  NONE


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

  CLAIM          CLAIMANT           UNIFORM           CLAIMS          CLAIMS   CLAIMS                CLAIMS
 NUMBER                            TRAN. CODE      SCHEDULED        ASSERTED ALLOWED                   PAID
      3        Internal Revenue      5800-000              $0.00    $108,648.24            $0.00         $0.00
               Service
      4        Employment            5800-000              $0.00       $3,335.12           $0.00         $0.00
               Development
               Department
               Board Of              5800-000          $2,843.00             $0.00         $0.00         $0.00
               Equalization
               Carlos Lopez          5800-000          $1,944.00             $0.00         $0.00         $0.00
               Employment            5800-000          $6,155.93             $0.00         $0.00         $0.00
               Development
               Dept.
               Internal Revenue      5800-000        $100,239.31             $0.00         $0.00         $0.00
               Service
 TOTAL PRIORITY UNSECURED CLAIMS                     $111,182.24    $111,983.36            $0.00         $0.00


  EXHIBIT 7 – GENERAL UNSECURED CLAIMS

  CLAIM          CLAIMANT           UNIFORM           CLAIMS          CLAIMS   CLAIMS                CLAIMS
 NUMBER                            TRAN. CODE      SCHEDULED        ASSERTED ALLOWED                   PAID

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      1        NuCO2                 7100-000              $0.00      $849.16       $849.16          $0.00
     2-1       Sunset Lending        7100-000              $0.00   $742,210.10   $742,210.10         $0.00
               Management,
               LLC
     3-1       Internal Revenue      7100-000              $0.00    $62,244.93    $62,244.93         $0.00
               Service
     4-1       Employment            7100-000              $0.00      $412.39       $412.39          $0.00
               Development
               Department
      5        American Express      7100-000              $0.00   $113,745.54   $113,745.54         $0.00
               Bank FSB
      6        S.D. Farmers          7100-000              $0.00     $7,762.89     $7,762.89         $0.00
               Outlet Inc.
      7        Benham                7100-000              $0.00    $98,714.00    $98,714.00         $0.00
               Tashakorian
      8        Didier Pellerud       7100-000              $0.00   $407,421.00   $407,421.00         $0.00
      9        ScreenPlay            7100-000              $0.00      $406.40       $406.40          $0.00
               Entertainment
      10       Employment            7200-000              $0.00     $3,315.78     $3,315.78         $0.00
               Development
               Department
               Adrian Haskal         7100-000         $20,000.00         $0.00         $0.00         $0.00
               Affordable            7100-000           $200.00          $0.00         $0.00         $0.00
               Grease Pumping
               Alan Phnera           7100-000           $801.31          $0.00         $0.00         $0.00
               Alsco                 7100-000           $937.40          $0.00         $0.00         $0.00
               American Air          7100-000           $150.00          $0.00         $0.00         $0.00
               American Express      7100-000        $134,708.79         $0.00         $0.00         $0.00
               Amtrust North         7100-000          $3,509.00         $0.00         $0.00         $0.00
               America
               ARSI                  7100-000         $18,670.00         $0.00         $0.00         $0.00
               AT&T                  7100-000           $236.97          $0.00         $0.00         $0.00
               Behnam                7100-000         $10,750.00         $0.00         $0.00         $0.00
               Tashakorian
               Best Bread            7100-000            $51.50          $0.00         $0.00         $0.00
               Cafe Moto             7100-000          $3,497.08         $0.00         $0.00         $0.00
               Capital Services      7100-000           $120.00          $0.00         $0.00         $0.00
               Challenge Dairy       7100-000          $1,126.55         $0.00         $0.00         $0.00
               Code Red              7100-000           $353.00          $0.00         $0.00         $0.00
               Crest Beverage,       7100-000          $1,710.50         $0.00         $0.00         $0.00
               LLC
               Detergent             7100-000           $802.20          $0.00         $0.00         $0.00
               Services
               Didier                7100-000              $0.00         $0.00         $0.00         $0.00
               Pellerud/Behnam
               Tashakorian
               Direct TV             7100-000          $1,826.94         $0.00         $0.00         $0.00

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               IPFS Corporation       7100-000          $1,483.17         $0.00        $0.00         $0.00
               Lloyd Pest             7100-000            $82.00          $0.00        $0.00         $0.00
               Control
               Nuco 2                 7100-000           $849.16          $0.00        $0.00         $0.00
               Oved Haskal            7100-000           $965.82          $0.00        $0.00         $0.00
               Pacific Coast          7100-000           $622.27          $0.00        $0.00         $0.00
               Propane
               Protection One         7100-000           $302.18          $0.00        $0.00         $0.00
               Alarm
               Monitoring
               Republic Services      7100-000           $333.30          $0.00        $0.00         $0.00
               S.O.S.                 7100-000          $2,095.00         $0.00        $0.00         $0.00
               Commercial
               San Diego              7100-000          $7,203.82         $0.00        $0.00         $0.00
               Farmers
               San Diego Gas &        7100-000         $10,874.46         $0.00        $0.00         $0.00
               Electric
               Society Billiards      7100-000          $5,000.00         $0.00        $0.00         $0.00
               SPE, Inc.              7100-000           $100.00          $0.00        $0.00         $0.00
               Stone Brewing          7100-000           $178.65          $0.00        $0.00         $0.00
               Company
               The French             7100-000          $2,052.78         $0.00        $0.00         $0.00
               Gourmet
               Time Warner            7100-000           $355.52          $0.00        $0.00         $0.00
               Cable
               Tomas Ordonez          7100-000              $0.00         $0.00        $0.00         $0.00
               Weitzen, Phillips      7100-000          $2,000.00         $0.00        $0.00         $0.00
               & Weinberg
               Young's Market         7100-000            $64.47          $0.00        $0.00         $0.00
               Company
 TOTAL GENERAL UNSECURED CLAIMS                       $234,013.84 $1,437,082.19 $1,437,082.1         $0.00
                                                                                           9




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                                                                                               FORM 1
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                Page No:    1              Exhibit 8
                                                                                            ASSET CASES

Case No.:                     15-01355-MM7                                                                                                                  Trustee Name:                                Leonard J. Ackerman
Case Name:                    U.S. ENTERTAINMENT, LLC                                                                                                       Date Filed (f) or Converted (c):             03/02/2015 (f)
For the Period Ending:        1/6/2017                                                                                                                      §341(a) Meeting Date:                        04/08/2015
                                                                                                                                                            Claims Bar Date:                             04/11/2016

                                  1                                              2                              3                                  4                            5                                       6

                         Asset Description                                    Petition/                 Estimated Net Value                    Property                 Sales/Funds                Asset Fully Administered (FA)/
                          (Scheduled and                                    Unscheduled                (Value Determined by                    Abandoned                Received by               Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                 Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       Leasehold at 909 Prospect St. #100 La Jolla, CA                        $6,655,993.00                          $1,800,199.62                                                  $0.00                                          FA
        92037
2       Wells Fargo Bank                                                              $150.00                               $150.00                                                  $0.00                                          FA
3        San Diego Gas & Electric                                                 $17,000.00                             $17,000.00                                                  $0.00                                          FA
4        Liquor License                                                          $180,000.00                            $180,000.00                                             $35,000.00                                          FA
Asset Notes:       AUCTION OF LIQUOR AND LIQUOR LICENSE, SEE ECF DOCUMENTS #31 AND 123
5        2011 Chevrolet Cargo Van (Lien of $11,650.00                             $12,000.00                             $12,000.00                                                  $0.00                                          FA
         on vehicle. Debt is owed by Oved Haskel)
6        Restaurant Equipment (including electronics,                            $300,000.00                            $300,000.00                OA                                $0.00                                          FA
         tables, chairs, security system, and kitchen)
7        Food & Alcohol                                                              $1,000.00                              $250.00                                              $1,000.00                                          FA
8        Vendor Refund                                             (u)                  $0.00                             $2,061.70                                              $2,061.70                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                                       Gross Value of Remaining Assets
                                                                               $7,166,143.00                          $2,311,661.32                                             $38,061.70                                     $0.00




     Major Activities affecting case closing:
      08/29/2016      RECEIVED RESPONSE FROM ROBERTA- COUNSEL IS PREPARING FEE APPLICATION. ONCE WE HAVE COUNSEL'S NUMBERS CASE WILL BE READY FOR FINAL
                      REPORTS
      08/26/2016      EMAILED ROBERTA REQUESTING STATUS OF CASE
      07/26/2016      Order entered re Notice of Abandonment
      06/27/2016      Kirby & McGuinn filed Notice of Abandonment re files/records
      03/31/2016      Updated Assets per abandonment
      03/30/2016      Filed NOIA seeking permission to pay liquor license
      03/17/2016      Contacted Counsel re renewal of liquor license.
                      Need to file NOIA to obtain court permission to pay renewal fees as an administrative expense. Buyer may pay renewal fee, but we will apply to be safe.
      03/17/2016      Examining the nature and extent of the claims that the estate may have against debtor's presumptive members.
      01/11/2016      Filed NOIA re pay minimum tax
      11/02/2015      REVIEWED ORDER RE TRUSTEES UNOPPOSED SECOND AMENDED AND SUPPLEMENETAL NOTICE OF PROPOSED AUCTION
      08/17/2015      FILED ORDER TO EMPLOY DEAN JOHNSON
                                      Case 15-01355-MM7       Filed 01/26/17         Entered 01/26/17 13:28:06                  Doc 144          Pg. 8 of 11
                                                                                 FORM 1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                    Page No:    2              Exhibit 8
                                                                              ASSET CASES

Case No.:                  15-01355-MM7                                                                                            Trustee Name:                               Leonard J. Ackerman
Case Name:                 U.S. ENTERTAINMENT, LLC                                                                                 Date Filed (f) or Converted (c):            03/02/2015 (f)
For the Period Ending:     1/6/2017                                                                                                §341(a) Meeting Date:                       04/08/2015
                                                                                                                                   Claims Bar Date:                            04/11/2016

                               1                                 2                          3                              4                        5                                         6

                       Asset Description                       Petition/             Estimated Net Value                Property               Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                       Unscheduled            (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                    Value                      Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

     08/07/2015     FILED APPLICATION & DECLARATION TO EMPLOY DEAN
                    &
                    SENT SOP TO UST


Initial Projected Date Of Final Report (TFR):   07/01/2017                 Current Projected Date Of Final Report (TFR):                                /s/ LEONARD J. ACKERMAN
                                                                                                                                                        LEONARD J. ACKERMAN
                                                                                                                                                         Page No:1
             Case 15-01355-MM7                       Filed 01/26/17FORM  2 01/26/17 13:28:06
                                                                     Entered                                                   Doc 144         Pg. 9 of 11
                                                                                                                                                     Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-01355-MM7                                                               Trustee Name:                          Leonard J. Ackerman
Case Name:                         U.S. ENTERTAINMENT, LLC                                                   Bank Name:                              Integrity Bank
Primary Taxpayer ID #:             **-***7101                                                                 Checking Acct #:                       ******1355
Co-Debtor Taxpayer ID #:                                                                                      Account Title:
For Period Beginning:              3/2/2015                                                                   Blanket bond (per case limit):         $6,500,000.00
For Period Ending:                 1/6/2017                                                                   Separate bond (if applicable):

       1                2                       3                               4                                                5               6                   7

   Transaction       Check /             Paid to/                   Description of Transaction                Uniform          Deposit      Disbursement         Balance
      Date            Ref. #          Received From                                                          Tran Code           $               $


10/14/2015            (8)      IPFS Corporation            VENDOR REFUND                                     1229-000           $2,061.70                            $2,061.70
10/31/2015                     Integrity Bank              Bank Service Fee                                  2600-000                                $1.71           $2,059.99
11/30/2015                     Integrity Bank              Bank Service Fee                                  2600-000                                $3.21           $2,056.78
12/31/2015                     Integrity Bank              Bank Service Fee                                  2600-000                                $3.31           $2,053.47
01/31/2016                     Integrity Bank              Bank Service Fee                                  2600-000                                $3.31           $2,050.16
02/18/2016           1001      Franchise Tax Board         Reference "12/2016 Form 100-ES CA#                2820-000                           $800.00              $1,250.16
                                                           8048810"
02/29/2016                     Integrity Bank              Bank Service Fee                                  2600-000                                $2.84           $1,247.32
03/31/2016                     Integrity Bank              Bank Service Fee                                  2600-000                                $2.01           $1,245.31
04/18/2016           1002      Department of Alcoholic     Renewal of Liquor License No. 487206              2990-000                           $876.00                  $369.31
                               Beverage Control
04/30/2016                     Integrity Bank              Bank Service Fee                                  2600-000                                $1.94               $367.37
05/31/2016                     Integrity Bank              Bank Service Fee                                  2600-000                                $2.00               $365.37
06/30/2016                     Integrity Bank              Bank Service Fee                                  2600-000                                $1.93               $363.44
07/05/2016                     FISCHER AUCTION             AUCTION OF LIQUOR AND                                 *             $19,483.09                         $19,846.53
                               COMPANY, INC.               LIQUOR LICENSE, SEE ECF
                                                           DOCUMENTS #31 AND 123
                      {4}                                  AUCTION OF LIQUOR                $35,000.00       1129-000                                             $19,846.53
                                                           AND LIQUOR LICENSE,
                                                           SEE ECF DOCUMENTS
                                                           #31 AND 123
                                                           AUCTIONEER'S                          $(100.00)   3610-000                                             $19,846.53
                                                           COMMISSION ON
                                                           AUCTION OF LIQUOR
                                                           AND LIQUOR LICENSE,
                                                           SEE ECF DOCUMENTS
                                                           #31 AND 123.
                                                           AUCTION OF LIQUOR               $(16,416.91)      3620-000                                             $19,846.53
                                                           AND LIQUOR LICENSE,
                                                           SEE ECF DOCUMENTS
                                                           #31 AND 123. PLEASE
                                                           ALSO SEE ECF
                                                           DOCUMENT #84
                                                           AUTHORIZING
                                                           PAYMENT TO EDD
                                                           AND TAXING
                                                           AUTHORITIES TO
                                                           COMPLETE SALE.




                                                                                                        SUBTOTALS              $21,544.79      $1,698.26
                                                                                                                                                           Page No:2
                 Case 15-01355-MM7                                 FORM
                                                      Filed 01/26/17       2 01/26/17 13:28:06
                                                                       Entered                                                   Doc 144         Pg. 10 of
                                                                                                                                                       Exhibit 9
                                                                          11
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-01355-MM7                                                                Trustee Name:                           Leonard J. Ackerman
Case Name:                         U.S. ENTERTAINMENT, LLC                                                     Bank Name:                              Integrity Bank
Primary Taxpayer ID #:             **-***7101                                                                  Checking Acct #:                        ******1355
Co-Debtor Taxpayer ID #:                                                                                       Account Title:
For Period Beginning:              3/2/2015                                                                    Blanket bond (per case limit):          $6,500,000.00
For Period Ending:                 1/6/2017                                                                    Separate bond (if applicable):

       1                2                       3                                    4                                            5                6                   7

   Transaction       Check /             Paid to/                        Description of Transaction            Uniform          Deposit      Disbursement           Balance
      Date            Ref. #          Received From                                                           Tran Code           $               $


                      {7}                                    AUCTION OF LIQUOR.                   $1,000.00   1129-000                                               $19,846.53
                                                             SEE ECF DOCUMENTS
                                                             #31 AND 123. $1,000
                                                             GROSS, $250 NET TO
                                                             THE ESTATE FOR THE
                                                             FOOD & ALCOHOL
                                                             SOLD AS PART OF
                                                             SAME AUCTION AS
                                                             LIQUOR LICENSE.
07/31/2016                     Integrity Bank                Bank Service Fee                                 2600-000                             $28.35            $19,818.18
08/04/2016           1002      VOID: Department of           THIS AMOUNT HAD ALREADY                          2990-003                           ($876.00)           $20,694.18
                               Alcoholic Beverage Control    BEEN PREVIOUSLY PAID BY THE
                                                             BUYER OF THE LIQUOR LICENSE.
08/31/2016                     Integrity Bank                Bank Service Fee                                 2600-000                             $33.38            $20,660.80
12/13/2016           1003      R. Dean Johnson               1ST INSTALLMENT Account Number:                  3420-000                             $61.32            $20,599.48
                                                             ; Amount Allowed: 325.50; Claim #: ;
12/13/2016           1004      R. Dean Johnson               1ST INSTALLMENT Account Number:                  3410-000                            $552.40            $20,047.08
                                                             ; Amount Allowed: 2,932.00; Claim #: ;
12/13/2016           1005      Sunset Lending                1ST INSTALLMENT Account Number:                  2410-000                           $8,097.64           $11,949.44
                               Management, LLC               ; Amount Allowed: 42,980.60; Claim #: 2;
12/13/2016           1006      Kirby & McGuinn, A.P.C.       1ST INSTALLMENT Account Number:                  3220-000                            $776.04            $11,173.40
                                                             ; Amount Allowed: 4,119.07; Claim #: ;
12/13/2016           1007      Leonard J. Ackerman           Trustee Compensation                             2100-000                            $858.40            $10,315.00
12/13/2016           1008      Leonard J. Ackerman           Trustee Expenses                                 2200-000                             $26.55            $10,288.45
12/13/2016           1009      Kirby & McGuinn, A.P.C.       1ST INSTALLMENT Account Number:                  3210-000                          $10,288.45                 $0.00
                                                             ; Amount Allowed: 54,609.00; Claim #: ;
                                                                    TOTALS:                                                     $21,544.79      $21,544.79                 $0.00
                                                                        Less: Bank transfers/CDs                                     $0.00           $0.00
                                                                    Subtotal                                                    $21,544.79      $21,544.79
                                                                        Less: Payments to debtors                                    $0.00           $0.00
                                                                    Net                                                         $21,544.79      $21,544.79


  For the period of 3/2/2015 to 1/6/2017                                                 For the entire history of the account between 10/14/2015 to 1/6/2017

  Total Compensable Receipts:                               $38,061.70                   Total Compensable Receipts:                                   $38,061.70
  Total Non-Compensable Receipts:                                $0.00                   Total Non-Compensable Receipts:                                    $0.00
  Total Comp/Non Comp Receipts:                             $38,061.70                   Total Comp/Non Comp Receipts:                                 $38,061.70
  Total Internal/Transfer Receipts:                              $0.00                   Total Internal/Transfer Receipts:                                  $0.00


  Total Compensable Disbursements:                          $38,061.70                   Total Compensable Disbursements:                              $38,061.70
  Total Non-Compensable Disbursements:                           $0.00                   Total Non-Compensable Disbursements:                               $0.00
  Total Comp/Non Comp Disbursements:                        $38,061.70                   Total Comp/Non Comp Disbursements:                            $38,061.70
  Total Internal/Transfer Disbursements:                         $0.00                   Total Internal/Transfer Disbursements:                             $0.00
                                                                                                                                                      Page No:3
                Case 15-01355-MM7                              FORM
                                                  Filed 01/26/17       2 01/26/17 13:28:06
                                                                   Entered                                                  Doc 144         Pg. 11 of
                                                                                                                                                  Exhibit 9
                                                                      11
                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                        15-01355-MM7                                                             Trustee Name:                            Leonard J. Ackerman
Case Name:                      U.S. ENTERTAINMENT, LLC                                                  Bank Name:                               Integrity Bank
Primary Taxpayer ID #:          **-***7101                                                               Checking Acct #:                         ******1355
Co-Debtor Taxpayer ID #:                                                                                 Account Title:
For Period Beginning:            3/2/2015                                                                Blanket bond (per case limit):           $6,500,000.00
For Period Ending:               1/6/2017                                                                Separate bond (if applicable):

      1                 2                   3                                  4                                            5                 6                   7

  Transaction        Check /            Paid to/                   Description of Transaction            Uniform          Deposit     Disbursement             Balance
     Date             Ref. #         Received From                                                      Tran Code           $              $




                                                                                                                                               NET              ACCOUNT
                                                                        TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE             BALANCES

                                                                                                                       $21,544.79         $21,544.79                  $0.00




 For the period of 3/2/2015 to 1/6/2017                                            For the entire history of the case between 03/02/2015 to 1/6/2017

 Total Compensable Receipts:                         $38,061.70                    Total Compensable Receipts:                                    $38,061.70
 Total Non-Compensable Receipts:                          $0.00                    Total Non-Compensable Receipts:                                     $0.00
 Total Comp/Non Comp Receipts:                       $38,061.70                    Total Comp/Non Comp Receipts:                                  $38,061.70
 Total Internal/Transfer Receipts:                        $0.00                    Total Internal/Transfer Receipts:                                   $0.00


 Total Compensable Disbursements:                     $38,061.70                   Total Compensable Disbursements:                               $38,061.70
 Total Non-Compensable Disbursements:                      $0.00                   Total Non-Compensable Disbursements:                                $0.00
 Total Comp/Non Comp Disbursements:                   $38,061.70                   Total Comp/Non Comp Disbursements:                             $38,061.70
 Total Internal/Transfer Disbursements:                    $0.00                   Total Internal/Transfer Disbursements:                              $0.00




                                                                                                    /s/ LEONARD J. ACKERMAN
                                                                                                    LEONARD J. ACKERMAN
